          Case 2:05-cv-00316-BRW Document 71 Filed 11/14/08 Page 1 of 2




                             IN THE UNITED STATES DISTRICT
                             EASTERN DISTRICT OF ARKANSAS
                                    EASTERN DIVISION


EMANUEL VANCE                                                                  PLAINTIFF

vs.                                     No. 2:05 CV 316 WRW

BRINKLEY SCHOOL DISTRICT, et al.                                               DEFENDANTS


                         DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                        MOTION FOR ATTORNEYS’ FEES AND COSTS

        Come now the Defendants, and, for their Response to the Plaintiff’s Motion for Attorneys’

Fees and Costs, state as follows:

        1. The Plaintiff has not established a market rate for attorneys with similar experience in the

relevant market area.

        2. The Plaintiff is seeking an award of fees and costs for matters which are not compensable.

        3. Some of the entries for time claimed are insufficiently detailed to allow a legitimate

analysis of the entries; and there are entries which indicate duplication of effort of the attorneys for

the Plaintiff.

        WHEREFORE, Plaintiff’s Motion for Attorneys’ Fees and Costs should be denied in whole

or, in the alternative, significantly reduced.
         Case 2:05-cv-00316-BRW Document 71 Filed 11/14/08 Page 2 of 2



                                                   Respectfully submitted,

                                                   /s/ W. Paul Blume

                                                   ___________________________________
                                                   W. PAUL BLUME               No. 79018
                                                   808 Martin Luther King Drive
                                                   Little Rock, Arkansas 72202
                                                   (501) 375-7922


                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Response was filed through the CM/ECF system of the
Court and that a copy will be forwarded to Mr. Shawn Childs, attorney for the Plaintiff, via
electronic means this 14th day of November, 2008.


                                                   /s/ W. Paul Blume
                                                   _____________________________________
                                                   W. PAUL BLUME




                                         Page 2 of 2
